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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND


   CHAMBERS OF
    Paula Xinis                                                                                    6500 Cherrywood Lane
UNITED STATES DISTRICT JUDGE                                                                           Greenbelt, MD 20770
                                                                                                             (301) 344-0653




             LETTER ORDER REGARDING THE FILING OF DISCOVERY MOTIONS

              To promote the just, speedy, and inexpensive resolution of this case, see Fed. R. Civ. P.
      1, the following procedure will be followed with respect to the filing of discovery motions (such
      as motions to compel, motions for a protective order, or motions seeking the imposition of
      sanctions). Any party wishing to file a motion first will serve on all parties and file with the
      Court a letter (not to exceed three pages, single spaced) that includes a brief description of the
      planned motion and a concise summary of the factual and legal support for it. Unless I notify
      you otherwise, no response to the letter should be filed. Upon filing of the letter, I will schedule
      an expedited telephone conference (usually within a week) to discuss the requested motion and
      to determine whether the issues may be resolved or otherwise addressed without the need for
      formal briefing. The telephone conference does not take the place of the parties’ obligation to
      meet and confer under the Federal Rules of Civil Procedure to attempt resolution of the issues
      without Court involvement.
              If I determine that the issues may not be resolved during the telephone call, I will consult
      with you to set a reasonable briefing schedule. If the letter described above is filed within the
      time allowed by the Federal Rules of Civil Procedure, Local Rules of Court, or any order issued
      by me in which to file the motion that the letter addresses, the time for filing the motion will be
      tolled to permit the scheduling of the telephone conference without the need to request an
      extension of time.
              Although informal, this is an Order of the Court and shall be docketed as such.



      Dated: March 4, 2020                                                             /S/
                                                                            PAULA XINIS
                                                                            United States District Judge




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    Southern Division • 200 U.S. Courthouse • 6500 Cherrywood Lane • Greenbelt, Maryland 20770 • 301-344-0660

                               Visit the U.S. District Court’s Website at www.mdd.uscourts.gov
